       Case 2:18-cr-00356-APG-DJA Document 140 Filed 12/02/22 Page 1 of 3
Prob12B
D/NV Form
Rev. June 2014



                                United States District Court
                                            for
                                  the District of Nevada

                         REQUEST FOR MODIFICATION
         TO CONDITIONS OF SUPERVISION WITH CONSENT OF OFFENDER
                  Probation Form 49 (Waiver of Hearing) is Attached
                                November 18, 2022

Name of Offender: Tiffany Tiarra Henderson

Case Number: 2:18CR00356

Name of Sentencing Judicial Officer: Honorable Andrew P. Gordon

Date of Original Sentence: June 23, 2020

Original Offense: Illegal Acquisition of a Firearm, and Aiding and Abetting

Original Sentence: 367 Days prison, followed by 36 Months TSR.

Date Supervision Commenced: June 17, 2021

Name of Assigned Judicial Officer: Honorable Andrew P. Gordon

                               PETITIONING THE COURT


‫ ܈‬To modify the conditions of supervision as follows:


Alcohol Monitoring – You must complete remote alcohol monitoring via BI for a period of
90 days, as approved and directed by the probation officer.


                                           CAUSE

On June 17, 2021, Henderson commenced her supervised release and on August 14, 2021 she
received her first positive for alcohol, which she denied. Henderson tested positive again for
alcohol on May 30, 2022, which she admitted to, and then most recently on November 14, 2022.
This positive was addressed with Henderson who admitted to consuming alcohol prior to testing
that day.
       Case 2:18-cr-00356-APG-DJA Document 140 Filed 12/02/22 Page 2 of 3

                                  RE: Tiffany Tiarra Henderson
Prob12B
D/NV Form
Rev. June 2014


It is the opinion of the probation office and also Henderson’s counselor that she has been
regularly consuming alcohol based upon her history with alcohol noted in the presentence report,
and her counselor’s observations of her during her counseling sessions. As such, the probation
office requests that her conditions be modified to include alcohol monitoring for ninety (90) days
to monitor her alcohol use more closely. Henderson is in agreement with this modification as
noted by her signature on the attached probation form 49.



                                                    Respectfully submitted,
                                                                   Digitally signed by
                                                                   Cecil B McCarroll III
                                                                   Date: 2022.12.01
                                                                   10:48:45 -08'00'
                                                    ______________________________
                                                    Cecil McCarroll
                                                    United States Probation Officer
Approved:
                      Digitally signed by Brian
                      Blevins
                      Date: 2022.12.01 10:27:05
                      -08'00'
__________________________________________
Brian Blevins
Supervisory United States Probation Officer
       Case 2:18-cr-00356-APG-DJA Document 140 Filed 12/02/22 Page 3 of 3

                                         RE: Tiffany Tiarra Henderson
Prob12B
D/NV Form
Rev. June 2014



THE COURT ORDERS


‫܆‬        The modification of conditions as noted above

‫܆‬        No Action.

‫܆‬        Other (please include Judicial Officer instructions below):

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                                                      _____________________________
                                                      Signature of Judicial Officer

                                                      December 2, 2022
                                                      _____________________________
                                                      Date
